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UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
Washington, DC 20415

Retirement Services

April 12, 2021
MELLODY E. HUNTLEY
155 HIGHPOINT DRIVE
APT 203, UNIT 155
ROMEOVILLE, IL 60446

Dear Mrs. Huntley,

The Office of Personnel Management, Retirement Inspection (RI) Fraud Unit has completed its
investigation about the complaint of Identity Theft by your former employer the Social Security
Administration.

RI has completed its investigation and our findings are as follows:

e OPM did not find any violations or changes pertaining to your PII on your retirement
record,

© We have placed a block on your retirement record so that no changes can be made to
your retirement record without your consent. Please view the attached sheet for block
information.

e Since there is no fraud pertaining to your OPM monthly annuity you would need to take
this complaint up with your former employing agency, Social Security Administration,
Office of General Counsel (OGC) and Equal Employment Opportunity Commission
(EEOC).

RI has completed its investigation and considers this case satisfied and closed.

If you have any further questions, please feel free to contact our office at (202) 606-0933.

Sincerely,

Lesa M. Morring

Program & Management Analyst
RES: Fraud, Data Integrity & Payments

U.S. OPM, RES Fraud Unit, 1900 E Street NW #2416Y Washington, DC 20415-3564
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This letter is a follow up of our initial complaint of Identity Theft. As a precaution, a block has
been placed on his annuity record. A block is an OPM security measure that prevents any
unauthorized changes on your annuity record without your consent. Please note if you continue
with the block, whenever changes need to be made from now on to your retirement record you
must write to:

Office of Personnel Management
Fraud Unit - ATTN: Lesa Morring
1900 E Street, NW #2416Y
Washington, DC 20415

Any new requests you would like made to your annuity record from now on must be written in
accompanied with your signature. No more changes will be made for you over the phone or
through Services Online. When you no longer want the block on your account you must write
that request in as well.

There has been no recent changes made to your annuity. You must return this letter in order
for the block to remain in effect. Please return within 30 days of this letter

I, Mellody E. Huntly, confirm that the attached state ID is in fact of me. The address on file
should be: 155 Highpoint Drive, Apt #203, Unit 155 in Romeoville, IL 60446

x I would like to keep the block on my retirement record to prevent any unauthorized
chahges to my retirement record. I also, understand that changes can and will only be made
when I write my requests in to OPM with my signature.

I would not like to place a block on my retirement record at this time.

Seki a aly

Annuifant’s signatufe

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Daytime phone number

U.S. OPM, RES Fraud Unit, 1900 E Street NW #2416Y Washington, DC 20415-3564
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U.S. OPM, RES Fraud Unit, 1900 E Street NW #2416Y Washington, DC 20415-3564
